Case 2:03-cr-20309-.]PI\/| Document 42 Filed 07/11/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
V. NO. 03-20309-B/V
HAMED FARJALLEH,

Defendant.

Page|D 38

mo BMV; D¢-
osJut lt PH 2=25
HiOM%SF/€.MLD

start us time
wm or “` =.its-».irtcr.§Um

 

ORDER OF TRANSFER

 

Judge Jon P. McCalla was assigned this case for trial on the criminal rotation docket.

The case is hereby transferred to Judge McCalla for all further proceedingsl

IT Is so 0RDERED this l f?\ day er Juiy, 2005.
mNIEL BREEN
UNI ED sTA'rEs DISTRICT J DGE

 

   

UNITED sTATE DRISTIC COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:03-CR-20309 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

